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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DIVISION OF OHIO
                                   EASTERN DIVISION

    In Re: Leo Neal Jr.                        :   Case #: 22-51185

                                               :   Chapter 13

                                               :   Judge Mina Nami Khorrami


                 NOTICE OF TRANSMITTAL OF UNCLAIMED FUNDS

           Now comes Edward A. Bailey, Chapter 13 Trustee herein, and pursuant to

    11 U.S.C. 347(a) and Bankruptcy Rule 3011, places unclaimed funds into the

    Registry Fund.

    Dated: March 28, 2024                             /s/ Edward A. Bailey
                                                      Edward A. Bailey
                                                      Chapter 13 Trustee



    Name and Address                                  Amount
    Leo Neal Jr.                                      $46,378.40
    5174 Schuylkill Street
    Columbus, OH 43220
